20-05027-rbk Doc#15 Filed 06/22/20 Entered 06/22/20 15:37:54 Main Document Pg 1 of 3




                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 In re:                                 §             Chapter 11
 KRISJENN RANCH, LLC                    §
        Debtor                          §          Case No. 20-50805
                                        §
 _________________________________________________________________________

 KRISJENN RANCH, LLC and                       §
 KRISJENN RANCH, LLC-SERIES                    §
 UVALDE RANCH, and KRISJENN                    §
 RANCH, LLC-SERIES PIPELINE                    §
 ROW as successors in interest to              §
 BLACKDUCK PROPERTIES, LLC,                    §
        Plaintiffs                             §
 v.                                            §
 DMA PROPERTIES, INC., and                     §
 LONGBRANCH ENERGY, LP,                        § Adversary No. 20-05027
       Defendants                              §
 _________________________________________________________________________
 DMA PROPERTIES, INC                           §
       Counter Plaintiff/Third Party Plaintiff §
 v.                                            §
 KRISJENN RANCH, LLC,                          §
 KRISJENN RANCH, LLC-SERIES                    §
 UVALDE RANCH, and KRISJENN                    §
 RANCH, LLC-SERIES PIPELINE ROW, §
 BLACK DUCK PROPERTIES, LLC,                   §
 LARRY WRIGHT, and JOHN TERRILL §
       Counter-Defendants/Third-Party          §
       Defendants

      KRISKENN RANCH, LLC, KRISKENN RANCH, LLC-SERIES UVALDE RANCH,
      AND KRISJENN RANCH, LLC-SERIES PIPELINE ROW, AS SUCCESSORS IN
     INTEREST TO BLACK DUCK PROPERTIES, LLC’S UNOPPOSED MOTION TO
     EXTEND TIME TO ANSWER TO DMA PROPERTIES, INC.’S COUNTERCLAIM

     COME NOW Debtors, Plaintiffs, Counter-Defendants KrisJenn Ranch, LLC, KrisJenn Ranch,

  LLC-Series Uvalde Ranch, and KrisJenn Ranch, LLC-Series Pipeline Row, as successors in

  interest to Black Duck Properties, LLC (collectively the “Debtors”), and file this Unopposed
20-05027-rbk Doc#15 Filed 06/22/20 Entered 06/22/20 15:37:54 Main Document Pg 2 of 3




  Motion to Extend Time to Answer DMA Properties, Inc.’s Counterclaim and would show the

  Court as follows:

     1. DMA Properties, Inc. filed its Counterclaim and Third Party Complaint on June 1, 2020.

  Accordingly, the Debtors’ response is due on or before June 22, 2020.

     2. The Debtors share a common principal, Larry Wright.

     3. Mr. Wright has been ill and unable to confer with counsel for the last week. Due to his

  illness, counsel for the Debtors has conferred with counsel for DMA Properties, Inc. and sought

  agreement on a one-week extension of time to file their answer. Based on the circumstances,

  counsel for DMA Properties, Inc. has agreed to such an extension.

     WHEREFORE PREMESIS CONSIDERED, Debtors, pray that the Court grant this agreed

  motion and extend the deadline to respond to DMA Properties, Inc.’s counterclaim by one week

  until June 29, 2020, and for all other further relief to which they may be entitled.

  Dated: June 22, 2020

                                         Respectfully submitted,

                                         MULLER SMEBERG, PLLC

                                  By:    /s/ Ronald J. Smeberg
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                                        ATTORNEY FOR DEBTORS
20-05027-rbk Doc#15 Filed 06/22/20 Entered 06/22/20 15:37:54 Main Document Pg 3 of 3




                               CERTIFICATE OF CONFERENCE

         I hereby certify that on June 22, 2020 I conferred with Michael Black, counsel for DMA
  Properties, Inc., about the relief requested in this motion. Upon such conference, DMA
  Properties, Inc. is unopposed to the relief requested in the above motion.

                                     /s/ Ronald J. Smeberg
                                    Ronald. J. Smeberg



                                  CERTIFICATE OF SERVICE

           I hereby certify that on June 22, 2020 true and correct copies of the foregoing will be
  forwarded electronically via the Court’s ECF System, or by U.S. first class mail, postage prepaid,
  on, all parties listed on the attached Service List.

                                                      /s/ Ronald J. Smeberg
                                                      Ronald J. Smeberg

                                          SERVICE LIST
  DEBTOR
                                     KEY TERRELL &
  KrissJenn Ranch, LLC               SEGER
  410 Spyglass Rd                    4825 50th Street, ste A
  Mc Queeney, TX 78123-              Lubbock, Texas 79414
  3418
                                     Longbranch Energy
  NOTICE PARTIES                     c/o DUKE BANISTER
                                     RICHMOND
  Christopher S. Johns               Po Box 175
  JOHNS &COUNSEL                     Fulshear, TX 77441-0175
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